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Exhibit B: Acknowledgment And Agreement To Be Bound




              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

DONNA CURLING, et al.

        Plaintiffs,
                                                      CIVIL ACTION
 v.
                                                      FILE NO. 1:17-CV-2989-AT
 BRAD RAFFENSPERGER, et al.,

        Defendants.


        ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND

       The undersigned hereby acknowledges that he/she has read the

Confidentiality Agreement Regarding Court-Ordered Software Inspection

dated December 29, 2023 (the “Agreement”), ”), has had an opportunity to

consult with counsel, and understands the terms thereof, and agrees to be

bound by its terms. The undersigned further acknowledges that he/she agrees

to be bound by the Protective Order dated July 11, 2019 in the above-

captioned action (Doc. No. 477). The undersigned submits to the jurisdiction

of the United States Court for the Northern District of Georgia (the “Court”)

in matters arising out of or relating to the Agreement, the terms of which

shall be fully enforceable by the Court to the fullest extent of the Court’s

power and authority to enforce any order under the Federal Rules, the

Court’s inherent authority, and any other power or authority vested in the

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Court at law or in equity. The undersigned acknowledges that violation of the

Agreement may result in penalties for contempt of court or any other penalty

otherwise imposed by the United States District Court for the Northern

District of Georgia.



                                 Nick Ikonomakis
Signed: _____________________ by _________________________ (print name)

                  PO BOX 343, BROOMFIELD, CO 80038
Business Address: ___________________________________________________

      January 3, 2024
Date: ____________________




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